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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                           4:12CR000246-8 DPM


MARCO ANTONIO MARTINEZ


                                      ORDER

      On February 11, 2013, Defendant wrote a letter to United States District

Judge D. P. Marshall Jr. complaining that his appointed lawyer, Ms. Sara F.

Merritt, was unresponsive to his request for a second detention hearing and his

attempts to communicate with her. (Docket entry #319 at 2-4).

      On February 14, 2013, Judge Marshall entered an Order directing Ms.

Merritt to file a status report “about the attorney-client relationship.” (Docket entry

#319 at 1). Judge Marshall also requested that the undersigned United States

Magistrate Judge “convene a hearing on the issue if one is needed.” Id.

      On February 18, 2013, Ms. Merritt provided Judge Marshall with the

requested status report. (Docket entry #324). She states that, on February 16, 2013,

she visited Defendant in the Dallas County Detention Center and “believe[s] that

our [attorney-client relationship] issues are resolved.” (Docket entry #324 at 1).
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She further states that she asked Defendant whether he wanted another lawyer

appointed to represent him, and he responded that he wants Ms. Merritt to continue

with the representation. (Docket entry #324 at 2).

      There does not appear to be any need to convene a hearing and the issues

raised by Defendant in his February 11, 2013 letter to Judge Marshall now appear

to be moot.

      IT IS SO ORDERED this 27th day of February, 2013.



                                ___________________________________
                                UNITED STATES MAGISTRATE JUDGE




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